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Defendant’s
Exhibit No. 1
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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA


 MAGGIE SMITH, et al.,

                  Plaintiffs,                     Civil Action No. 15-737 (RCL)

         v.

 DISTRICT OF COLUMBIA,

                  Defendant.


                  PLAINTIFFS’ NOTICE OF DEPOSITION PURSUANT TO

                                      FED. R. CIV. P. 30(b)(6)

       Please take notice that, pursuant to Fed. R. Civ. P. 30(b)(6), Plaintiffs, through their

attorneys, will take an oral deposition of the person specified below, on the date and time specified

below, at the place specified below, before a certified court reporter authorized to administer

oaths, for all purposes permitted by the federal rules of civil procedure and other federal law,

including but not limited to for use in trials. Defendant District of Columbia is requested to

designate the person or persons most knowledgeable and prepared to testify on behalf of

American concerning the subject matter described on Attachment A hereto. If necessary, the

deposition will be adjourned until completed.


       This deposition will be videotaped as well as stenographically recorded.


Deponent: the person or persons most knowledgeable and prepared to testify on behalf of

American concerning the subject matter described on Attachment A hereto


Date: 11/6/2020
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Time: 9:00 a.m.


Place: Remote deposition – details to be provided


If the District cannot agree to a remote deposition:


Faegre Drinker Biddle & Reath LLP 1500 K Street NW, Suite 1100 Washington, DC 20005

Phone: 202/842-8800 Email: bennett.borden@faegredrinker.com


William Claiborne

Respectfully submitted,


/s/ William Claiborne

WILLIAM CLAIBORNE
D.C. Bar # 446579
Counsel for Plaintiffs
717 D Street N.W., Ste 300
Washington, DC 20004-2815
Phone 202/824-0700
Email claibornelaw@gmail.com


                                  CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing Deposition Notice was emailed on this, day

9/28/2020 and 11/1/2020 to:


Fernando Amarillas, Esq. at fernando.amarillas@dc.gov
Chief, Equity Section at Office of the Attorney General for the District of Columbia

and Andy Saindon andy.saindon@dc.gov and Brendan Heath

Assistant Attorney General
400 Sixth Street, N.W., Suite 10100
Washington, D.C. 20001
Telephone: (202) 724-6643
Facsimile: (202) 730-1470
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/s/ William Claiborne
WILLIAM CLAIBORNE D.C. Bar # 446579
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                                           Attachment A



  Cobalt – Cobalt Case Management System and Records Management System (RMS) and any
       other database and system used in booking arrestees into MPD booking database




The person most knowledgeable about all technical aspects of the Cobalt Case Management

System and Records Management System (RMS) and any other database and system used in

booking arrestees into MPD booking database used by the District of Columbia since 2012 and

currently in use (the “Database”) including:


       1.      The Database platform (SQLServer, Oracle, third-party provided, etc.)

       2.      The structure of the Database (e.g., relationships and definitions for tables, queries,

stored procedures, constraints and other database objects)

       3.      The contents of each field in the Database, to include configurable fields

       4.      The field name and format for each field in the Database

       5.      The organization of the Database fields into tables

       6.      The servers where the Database is stored

       7.      Who maintains the database and their names and contact information and

employers

       8.      The functionality of the Database

       9.      What data is entered into the Database

       10.     How data is entered into the Database

       11.     How the data in the Database is organized by record

       12.     How any documents are related and attached to a record in the Database
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        13.     How any documents are stored in the Database

        14.     Identifying and describing all reports that can be generated by the Database

        15.     How the Database is searched or queried

        16.     How data is extracted or exported from the Database

        17.     How Database transactions are logged

        18.     How are changes to Database records are recorded and auditability and chain of

custody are maintained

        19.     The searches that were conducted in the Database to create the District’s

productions from it in this case.

        20.     Any differences in searches that resulted in different productions of data from the

Database.

        21.     How identify cases referred for prosecution that were no-papered.

        22.     What access does Superior Court have to CSOSA data

        23.     PTSA module in CourtView

        24.     Criminal history records and how searchable and exportable

        25.     The individual is knowledgeable of any interfaces between systems (especially

COBALT, EvidenceOnQue and any other MPD systems and CourtView) whether that interface is

a technical interface, or whether there is a manual process by which data gets entered from one

system to another.

        26.     Each field in each of the databases populated with data about class members

(including Named plaintiffs), the programmer name of the field, the name the field the data entry

person sees, the table the field is in, the field’s purpose, by whom it is populated

        27.     What info does MPD collect from AFIS? How is it collected? Is it preserved in any

form? How?
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       28.     Is AFIS searchable (by individual search for records of one person only or for

records by query, e.g., all persons arrested during a specified time period)

       29.     Fields produced from MPD and CourtView databases and why CourtView has

class members not in the MPD arrest database
